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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                     O R D E R


              THIS   CAUSE     is   before   the    Court   on   defendant   Amada

  Hernandez’ Motion to Adopt (DE 565).              Being fully advised, it is

  hereby

              ORDERED    AND    ADJUDGED     that    the    motion   is   GRANTED.

  Defendant Amada Hernandez is permitted to adopt the following

  motions:

              1. Defendant Hannibal Edwards’ Second Motion to Dismiss
  Indictment (DE 524);

              2. Defendant Howard Helfant’s Motion for Disclosure of

  Grand Jury Minutes (DE 528);

              3.     Defendant Emmanuel Antonio’s Motion to Sever (DE

  532);

              4.   Defendant Theophilos Antoniou’s Motion to Sever (DE

  535), and
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              5.      Defendant     Hannibal   Edwards’     Motion   for   Order

  Disclosing Government’s Instructions to Grand Jury (DE 552), except

  as   to   any    matter   where   standing   is   an   essential   element   of

  participation.       Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 29th

  day of August, 2007.




  Copies to:

  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
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